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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

AMIE SMITH,                                )
                                           )
           Plaintiff,                      )
                                           )
      v.                                   )         Case No. 4:17 CV 1335 CDP
                                           )
RAC ACCEPTANCE EAST, LLC,                  )
d/b/a Acceptance Now,                      )
                                           )
           Defendant.                      )

                                 ORDER OF DISMISSAL

      Pursuant to Fed. R. Civ. P. 41, and for the parties’ failure to comply with the

Court’s Order of August 3, 2017,

      IT IS HEREBY ORDERED that this action is dismissed with prejudice,

subject to any party’s right, upon good cause shown within sixty (60) days of the date

of this Order, to reopen the action for the sole purpose of enforcing the settlement.

      IT IS FURTHER ORDERED that the Court retains jurisdiction for sixty (60)

days from the date of this Order to enforce the settlement.




                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE

Dated this 11th day of September, 2017.
